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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 07-60027-CR-ZLOCH

  UNITED STATES OF AMERICA,

               Plaintiff,

  vs.                                                       O R D E R

  FRANK HERNANDEZ, et al.,

               Defendants.
                                       /

        THIS    MATTER   is   before       the    Court   upon   the   Report   And

  Recommendation (DE 796) filed herein by United States Magistrate

  Judge Lurana S. Snow.         No objections have been filed to said

  Report.      The Court has conducted a de novo review of the entire

  record herein and is otherwise fully advised in the premises.

        Accordingly, after due consideration, it is

        ORDERED AND ADJUDGED that the Report And Recommendation (DE

  796) filed herein by United States Magistrate Judge Lurana S. Snow,

  be and the same is hereby approved, ratified and adopted by the

  Court.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward

  County, Florida, this        7th               day of February, 2008.




                                       WILLIAM J. ZLOCH
                                       United States District Judge
  Copies furnished:
  The Honorable Lurana S. Snow
  United States Magistrate Judge

  All Counsel of Record
